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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6
                                         AFFINITY CREDIT UNION,
                                   7                                                       Case No. 22-cv-04174-BLF
                                                        Plaintiff,
                                   8
                                                 v.                                        ORDER OF RECUSAL
                                   9
                                         APPLE INC.,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          I, the undersigned judge of the court, finding myself disqualified in the above-entitled

                                  15   action, hereby recuse myself from this case and request that the case be reassigned pursuant to the

                                  16   Assignment Plan.

                                  17          All pending dates of motions, pretrial conferences and trial are hereby vacated and will be

                                  18   reset by the newly assigned judge.

                                  19          IT IS SO ORDERED.

                                  20

                                  21   Dated: July 20, 2022

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                                                                                       BETH LABSON FREEMAN
                                  23                                                   United States District Judge
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